Case 1:13-cr-00412-LJO-BAM Document 21 Filed 12/31/13 Page 1 of 2




NICHOLAS F. REYES, #102114
Attorney at Law
1107 “R” Street
Fresno, California 93721
Telephone: (559) 486-4500
Facsimile: (559) 486-4533

Attorney for Defendant
RAMON GOMEZ GARCIA



                         UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA         )               CASE NO. 1:13-CR-00412-LJO
                                 )
                                 )               STIPULATION TO CONTINUE
                 Plaintiff,      )               BOND STATUS CONFERENCE
                                 )               AND ORDER
      v.                         )
                                 )
RAMON GOMEZ GARCIA               )
                                 )
                 Defendant.      )
_________________________________)

      Defendant, RAMON GOMEZ GARCIA, by and through his counsel of record,
NICHOLAS F. REYES, and Plaintiff, UNITED STATES OF AMERICA, by and
through its counsel of record, MEGAN RICHARDS, Assistant United States Attorney
for the Eastern District of California, hereby stipulate that the BOND Status Conference
in the above-referenced case currently scheduled for January 3rd, 2014 at 1:30 p.m. be
continued to Friday, January 17, 2014 at 1:30 p.m. in the courtroom for the Honorable
Duty Magistrate.
      This stipulation is based on good cause and in the interest of justice as defendant’s
hired appraiser will not complete the property bond appraisal prior to January 3rd, 2014
and requires the additional two weeks to complete the property bond.
Case 1:13-cr-00412-LJO-BAM Document 21 Filed 12/31/13 Page 2 of 2




IT IS SO STIPULATED
                                                    Respectfully submitted,



Dated: 12-30-2013                                   /s/ Nicholas F. Reyes
                                                    NICHOLAS F. REYES
                                                    Attorney for Defendant
                                                    RAMON GOMEZ GARCIA



IT IS SO STIPULATED



Dated: 12-30-2013                                   /s/ Megan Richards
                                                    MEGAN RICHARDS
                                                    Assistant U.S. Attorney




IT IS SO ORDERED.

                      Dated:   December 31, 2013          /s/ Gary S. Austin
DEAC_Signature-END:
                                                   UNITED STATES MAGISTRATE JUDGE

6i0kij8d
